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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,

       V.                                        CASE NO. 08-20192
                                                 HON. NANCY G. EDMUNDS

SARAH DUTTON,

              Defendant.
                                   /


      ORDER DISQUALIFYING COUNSEL DUE TO CONFLICT OF INTEREST

       The United States Constitution gives every defendant the right to effective

assistance of counsel. When one lawyer or his law firm represents two or more defendants

in a case, the lawyer may have trouble representing all of the defendants with the same

fairness. This is a conflict of interest that denies the defendant the right to effective

assistance of counsel. Such conflicts are always a potential problem because different

defendants may have different degrees of involvement. Each defendant has the right to

a lawyer who represents her and only her.

       This kind of conflict of interest can be dangerous to a defendant. For example,

the government may offer to recommend a lesser sentence to one defendant if she

cooperates with the government. Her lawyer ought to advise her on whether or not to

accept this offer. But if the lawyer advises her to accept the offer, it may harm the cases

of the other defendants who are also his clients.

       Additionally, the best defense for a single defendant often is the argument that while
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the other defendants may be guilty, she is not. A lawyer representing two or more

defendants cannot effectively make such an argument.

      In this matter, it has come to the attention of the Court that attorney Sterling

Coleman has represented Co-Defendant Dennis Page in a related state criminal matter in

36th District Court, Case No. U36402707, People of the State of Michigan v Dennis R.

Paige. This representation creates an apparent conflict of interest with Mr. Coleman’s

representation of Sarah Dutton.     In addition, Mr. Coleman shares office space and

marketing services with Sanford Schulman, who currently represents Co- Defendant Paige;

Mr. Coleman is also listed as one of the attorneys affiliated with Sanford Schulman

Associates. All of these facts have been considered by the Court in reaching the decision

that Mr. Coleman has an actual and apparent conflict of interest which requires that he be

disqualified from representing Defendant Dutton.

      Accordingly, the Court DISQUALIFIES Attorney Sterling Coleman as counsel for

Defendant Sarah Dutton. The Federal Defender’s Office is directed to appoint new counsel

for the Defendant.



                           s/Nancy G. Edmunds
                           Nancy G. Edmunds
                           United States District Judge

Dated: April 25, 2008

I hereby certify that a copy of the foregoing document was served upon the parties and/or
counsel of record on April 25, 2008, by electronic and/or ordinary mail.

                           s/Carol A. Hemeyer
                           Case Manager
